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                       UNITED STATES DISTRICT COURT FOR THE
                             SOU THERN DISTRICT O F FLO RIDA
                                      Ft.Pierce D ivision
                      Case N um ber: I3-I4O47-C R-M AR TIN E Z-LY N C H

  UN ITED STATES O F A M ERICA ,
        Plaintiff,

  VS.

  JOE JR DESILIEN,
        D efendant.
                                              /

        ORDER ADOPTING IN PART M AGISTM TE JUDGE LYNCH 'S REPORT AND
                             RECOM M ENDATION

          THE M ATTER wasreferred to the HonorableFrnnk J.Lynch,Jr.,United States
  M agistrateJudgefora Reportand Recom mendation on defensecounsel,RandeeJ.Golder's,

  CJA VoucherforAttorney'sFees(ECF No.3954.M agistrateJudgeLynchfiledaReportand
  Recommendation(ECF No.3961,recommendingthattheCJA VoucherbegrantedinsofarasMs.
  Golderbe awarded the statutorym aximum of$9,800.00 asreasonableattorney'sfeestogether
  with travelexpensesintheam ountof$847.70and otherexpensesin theamountof$181.25,for
  atotalsum of$10,828.95.M s.GolderobjededtoJudgeLynch'sfindings,arguingthatthefacts
  ofthe casemadeitextended and complex,thusentitlingM s.Golderto $12,071.80 in attorneys
  feesand costsIECFNo.3971.
          TheCourthasreviewed theentirefileand record and hasmade adenovo review ofthe

  issuesthattheobjectionstotheM agistrateJudge'
                                              sReportandRecommendationpresent.Judge
  Lynch conducted athorough analysisofthem eritsofM s.Golder'srequestto exceedthe

  statutory maximum . Although JudgeLynch found thatthecase wasneitherextended or
  com plex,itisapparentthathe did notanive atthis conclusion w ithoutdifficulty. W hile
  acknow ledging thatthisisaclosecall,the Courtrespectfully disagreeswith JudgeLynch's
  conclusion.ThisparticularCJA assignmentinvolved extensive discoveryincluding volum inous
  photographs,surveillancevideos,policereports,and laboratory analyses.Thecase also involved

  a defendantwho wasasuspectin numerousrobberieswhich involved differentco-defendants,
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  differentbanks,anddifferentjurisdictions.Therefore,aftercarefulconsideration,theCourtfinds
  thiscasewassufficientlyextended andcomplextojustifyexceedingthestatutorycap.TheCourt
  thusaffirmsand adoptstheReportand Recomm endation in part,finding thatM s.Golderis

  entitledtothetotalamountofattorney'sfeessoughtasadjustedbytheCJA Administratorin
  addition totherequested expenses. Accordingly,itishereby:

        ADJUDGED thatUnited StatesM agistrate Judge Lynch'sReportand Recom m endation

  (ECFNo.396)isAFFIRM ED IN PART andADOPTED IN PART.Accordingly,itis:
        ADJUDGED thatthe CJA Voucher#FLS 13-1041isGR ANTED .Defendant'scounsel,

  Randee J.Golder,isentitled to $12,071.80 asreasonable attorney'sfeestogetherwith travel
  expensesintheamountof$847.70 and otherexpensesin theam ountof$181.25,foratotalsum
  of$13,100.75.
        DONE AND ORDERED in ChambersatM iam isFlorida,thisf dayofJanuary,2015.
                                                              f
                                                  JO S    .M A R     Z
                                                         ED STA TES D ISTRICT JU D GE
  Copiesprovided to:
  M agistrateJudgeLynch
  A11CounselofRecord
